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                                       VAUGHN INDEX
                                 Revised on October 15, 2015
                         Gabrion v. United States Dept. of Justice, et al.
                          Civil Action No. 2:15-cv-00024-WTL-WGH
           FOIA Request No. 2013-03547 – February 28, 2015 & March 31, 2015 Release
                                  Documents Withheld in Full

  Group           Pages     Description            Exemption       Justification
  Number
  1               223       Statement of Reasons   (b)(7)(F)       The records were
                            and Presentence                        withheld in full under
                            Investigation Report                   Exemption (b)(7)(F).
                            in United States v.
                            Marvin Charles                         The records consist of
                            Gabrion, 1:97-CR-                      Presentence Investigation
                            145-01 (W.D.MI.).                      Reports (PSR) and
                                                                   Statements of Reasons
                                                                   (SOR) in inmate
                                                                   Gabrion’s criminal case.

                                                                   Program Statement
                                                                   1351.05, Release of
                                                                   Information, prohibits
                                                                   inmates from possessing
                                                                   their PSR and SOR for
                                                                   security reasons, but does
                                                                   allow inmates to review
                                                                   their PSR and SOR
                                                                   maintained in their
                                                                   Central File.

                                                                   Although the FOIA
                                                                   requestor is seeking these
                                                                   records on inmate
                                                                   Gabrion’s behalf and
                                                                   with his consent, the PSR
                                                                   and SOR contain
                                                                   sensitive information
                                                                   that, if released while
                                                                   Gabrion remains
                                                                   incarcerated, is
                                                                   nonetheless likely to
                                                                   endanger his life or
                                                                   physical safety if known
                                                                   by other individuals.


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  Group        Pages     Description               Exemption         Justification
  Number



  2            6         Incident Report           (b)(6)           Exemptions (b)(6) and
                         issued to third-party     (b)(7)(C)        (b)(7)(c) were applied to
                         inmates for incident                       withhold information
                         at FCI Milan on                            regarding the BOP’s
                         February 6, 1999.                          discipline of third-party
                                                                    inmates. Disclosure of
                                                                    this information would be
                                                                    an unwarranted invasion
                                                                    of the other individuals’
                                                                    privacy.
  3            1         Hand-written note         (b)(6) (b)(7)(C) Exemptions (b)(6) and
                         containing a third-                        (b)(7)(C) were applied to
                         party individual’s                         withhold this record as it
                         name, address and                          contains the personal
                         phone numbers.                             information of a third-
                                                                    party. Disclosure of this
                                                                    record would be an
                                                                    unwarranted invasion of
                                                                    other individual’s privacy
  4            18        Discipline Hearing        (b)(6)           Exemptions (b)(6) and
                         Officer Report for a      (b)(7)(C)        (b)(7)(c) were applied to
                         third-party inmate                         withhold information
                         drafted by Robert                          regarding the BOP’s
                         Whitehouse,                                discipline of third-party
                         Discipline Hearing                         inmates. Disclosure of
                         Officer, dated March                       this information would be
                         18, 1999.                                  an unwarranted invasion
                                                                    of the other individual’s
                                                                    privacy.
  5            4         Checklist for DHO         (b)(6)           Exemptions (b)(6) and
                         action completed by       (b)(7)(C)        (b)(7)(c) were applied to
                         Robert Whitehouse,                         withhold information
                         Discipline Hearing                         regarding the BOP’s
                         Officer, for incident                      discipline of a third-party
                         report issued to a                         inmate. Disclosure of
                         third-party inmate                         this information would be
                         regarding an incident                      an unwarranted invasion
                         that occurred on                           of the other individual’s
                         February 6, 1999.                          privacy.



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  Group        Pages     Description             Exemption   Justification
  Number
  6            11        Memorandum              (b)(6)      Exemptions (b)(6) and
                         regarding February 6,   (b)(7)(C)   (b)(7)(c) were applied to
                         1999 incident at FCI    (b)(7)(E)   withhold information
                         Milan drafted by Lt.    (b)(7)(F)   regarding the BOP’s
                         R. Flick, Special                   discipline and program
                         Investigative                       assignments for third-
                         Supervisor, to Joseph               party inmates, as well as
                         Scibana, Warden,                    their names, register
                         dated February 26,                  numbers, descriptions of
                         1999.                               injuries, discipline and
                                                             criminal histories.
                                                             Disclosure of this
                                                             information would be an
                                                             unwarranted invasion of
                                                             the other individuals’
                                                             privacy.

                                                             Exemptions (b)(7)(E) and
                                                             (b)(7)(F) were applied to
                                                             withhold information
                                                             regarding the
                                                             investigation of the
                                                             incident, responses by
                                                             staff and inmates,
                                                             findings of the
                                                             investigator and
                                                             recommendations
                                                             regarding the disposition
                                                             of the incident reports,
                                                             safety, and inmate
                                                             monitoring and
                                                             classification
                                                             determinations.
                                                             Exemption (b)(7)(F) was
                                                             also applied to withhold
                                                             personal information
                                                             regarding third-party
                                                             inmates.
                                                             Disclosure of this
                                                             information would reveal
                                                             law enforcement
                                                             techniques and
                                                             procedures which could
                                                             reasonably be expected to

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  Group        Pages     Description             Exemption   Justification
  Number
                                                             risk circumvention by
                                                             inmates and/or endanger
                                                             the life or physical safety
                                                             of inmates and staff.
  7        A   3         Memorandum              (b)(6)      Exemptions (b)(6) and
                         regarding February 6,   (b)(7)(C)   (b)(7)(c) were applied to
                         1999 incident at FCI    (b)(7)(E)   withhold the names,
                         Milan drafted by S.     (b)(7)(F)   register numbers and
                         Needham, Senior                     descriptions of injuries
                         Officer, to Lt. R.                  for third-party inmates.
                         Flick, Special                      Disclosure of this
                         Investigative                       information would be an
                         Supervisor, dated                   unwarranted invasion of
                         February 6, 1999.                   the other individuals’
           B   6         Memorandum                          privacy.
                         regarding February 6,
                                                             Exemptions (b)(7)(E) and
                         1999 incident at FCI
                                                             (b)(7)(F) were applied to
                         Milan drafted by Lt.
                                                             withhold information
                         R. Flick ,Special
                                                             regarding the actions
                         Investigative
                                                             taken by staff or inmates
                         Supervisor, to M.
                                                             during or in response to
                         Thompson, Captain,
                                                             the incident, search
                         dated February 6,
                                                             techniques utilized, and
                         1999.
                                                             the investigation of the
           C   1         Memorandum                          incident. Exemption
                         regarding February 6,               (b)(7)(F) was also used to
                         1999 incident at FCI                withhold personal
                         Milan drafted by C.                 information of third-party
                         Liolli, Correctional                inmates. Disclosure of
                         Officer, to Lt. R.                  these records would
                         Flick, Special                      reveal law enforcement
                         Investigative                       techniques and
                         Supervisor, dated                   procedures and could
                         February 6, 1999.                   reasonably be expected to
           D   2         Memorandum                          risk their circumvention
                         regarding February 6,               or nullification.
                         1999 incident at FCI                Disclosure of this
                         Milan drafted by T.                 information could also
                         VanBrocklin, Senior                 reasonably be expected to
                         Officer, to Lt. R.                  endanger the life or
                         Flick , Special                     physical safety of inmates
                         Investigative                       and staff.
                         Supervisor, dated
                         February 6, 1999.
                                             4
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  Group        Pages     Description              Exemption   Justification
  Number
  8            16        Pictures of third-       (b)(6)      Exemptions (b)(6),
                         party inmates and        (b)(7)(C)   (b)(7)(C), (b)(7)(E) and
                         evidence associated      (b)(7)(E)   (b)(7)(F) were applied to
                         with a February 6,       (b)(7)(F)   withhold the pictures of
                         1999 incident at FCI                 third-party inmates, along
                         Milan. Pictures were                 with their names, register
                         taken by Lt. R. Flick,               numbers and descriptions
                         Special Investigative                of their injuries.
                         Supervisor, on                       Exemption (b)(7)(E) was
                         February 6, 1999,                    also used to exempt
                         and include the                      pictures and descriptions
                         photographed                         of the evidence
                         inmates’ names,                      associated with the
                         register numbers, and                February 6, 1999
                         a description of the                 incident. Disclosure of
                         evidence or inmate                   these records would be an
                         injuries and                         unwarranted invasion of
                         suspected cause of                   the third-party inmates’
                         the injuries.                        privacy and would reveal
                                                              law enforcement
                                                              investigative techniques
                                                              and procedures that could
                                                              reasonably be expected to
                                                              risk circumvention of the
                                                              law and/or endanger the
                                                              life or physical safety of
                                                              inmates or staff.
  9            4         Clinical Encounters      (b)(6)      Exemptions (b)(6) and
                         for third-party          (b)(7)(C)   (b)(7)(C) were applied to
                         inmates, dated                       withhold the medical
                         February 6, 1999.                    records of third-party
                                                              inmates generated in
                                                              response to an incident at
                                                              FCI Milan on February 6,
                                                              1999. Disclosure of this
                                                              information would be an
                                                              unwarranted invasion of
                                                              the third-party inmates’
                                                              privacy.

  10           1         Incident Report          (b)(6)      Exemptions (b)(6) and
                         issued to third-party    (b)(7)(C)   (b)(7)(c) were applied to
                         inmate regarding                     withhold information
                         incident in the USP                  regarding the BOP’s

                                             5
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  Group        Pages     Description              Exemption   Justification
  Number
                         Terre Haute Special                  discipline of third-party
                         Confinement Unit on                  inmates. Disclosure of
                         August 30, 2007.                     this information would be
                                                              an unwarranted invasion
                                                              of the other individual’s
                                                              privacy.
  11           19        Staff Injury             (b)(6)      Exemptions (b)(6) and
                         Assessment and           (b)(7)(C)   (b)(7)(C) were applied to
                         Photographs, dated                   withhold the personal
                         May 25, 2009.                        information, description
                                                              of injuries and images of
                                                              staff. Disclosure of this
                                                              information would be an
                                                              unwarranted invasion of
                                                              another individual’s
                                                              privacy.
  12           16        Program Forms            (b)(6)      Exemptions (b)(6),
                         contained in inmate      (b)(7)(C)   (b)(7)(C), (b)(7)(E) and
                         Gabrion’s Central        (b)(7)(E)   (b)(7)F) were applied to
                         File.                    (b)(7)(F)   withhold these records as
                                                              they pertain to third-party
                                                              individuals. Disclosure
                                                              of these records would be
                                                              an unwarranted invasion
                                                              of other individuals’
                                                              privacy and will reveal
                                                              law enforcement
                                                              techniques, procedures
                                                              and guidelines that could
                                                              reasonably be expected to
                                                              risk circumvention if
                                                              revealed and would
                                                              endanger the life or
                                                              physical safety of third-
                                                              party individuals.
  13       A   1         Correspondence           (b)(6)      Exemptions (b)(6) and
                         dated July 20, 2009,     (b)(7)(C)   (b)(7)(C) were applied to
                         from third party, non-   (b)(7)(E)   withhold these records as
                         inmate addressed to      (b)(7)(F)   they pertain solely to
                         USP Terre Haute                      third-party individuals.
                         Counselor Bruce                      Exemptions (b)(7)(E) and
                         Ryherd regarding                     (b)(7)(F) were also
                         communications with                  applied as disclosure of
                         inmate Gabrion and                   these documents would

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  Group        Pages     Description           Exemption   Justification
  Number
                         placement on his                  reveal law enforcement
                         approved telephone                techniques, procedures
                         list.                             and guidelines in
                                                           monitoring and
                                                           classifying inmates and
                                                           could reasonably be
                                                           expected to endanger the
                                                           life or physical safety of
                                                           third-party individuals if
                                                           disclosed.
           B   1         Correspondence
                         dated November 7,
                         2005, from USP
                         Terre Haute Warden
                         Mark Bezy to third
                         party, non-inmate
                         regarding
                         correspondence
                         privileges with
                         inmate Gabrion.
           C   2         Correspondence
                         dated October 24,
                         2005, from third
                         party, non-inmate
                         regarding
                         correspondence
                         privileges with
                         inmate Gabrion.
           D   1         Correspondence
                         dated January 16,
                         2007, from a third
                         party, non-inmate
                         addressed to USP
                         Terre Haute
                         Counselor B. Ryherd
                         regarding placement
                         on inmate Gabrion’s
                         approved telephone
                         list.
           E   1         Correspondence
                         dated January 15,
                         2007, from a third
                         party, non-inmate
                         addressed to USP
                         Terre Haute Unit
                                          7
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  Group        Pages     Description             Exemption   Justification
  Number
                         Manager R. White
                         regarding placement
                         on inmate Gabrion’s
                         approved telephone
                         list.
           F   2         Correspondence
                         dated March 21,
                         2002, from USP
                         Terre Haute Warden
                         Keith E. Olson to
                         third party, non-
                         inmate regarding
                         communications
                         between third parties
                         and inmate Gabrion.
           G   1         Correspondence
                         dated July 7, 2003,
                         from USP Terre
                         Haute Warden Keith
                         E. Olson to a third-
                         party, non-inmate
                         regarding visitation
                         privileges.
           H   1         Partial
                         correspondence dated
                         June 25, 2003, from a
                         third party, non-
                         inmate addressed to
                         USP Terre Haute
                         Warden Keith E.
                         Olson.
  14           44        Inmate Population       (b)(6)      Exemptions (b)(6) and
                         Monitoring Records      (b)(7)(C)   (b)(7)(C) were applied to
                         contained in inmate     (b)(7)(E)   withhold information
                         Gabrion’s Special       (b)(7)(F)   pertaining to third-party
                         Investigative                       individuals. Disclosure
                         Services File, dated                of this information would
                         January 30, 2013,                   be an unwarranted
                         June 10, 200?, and                  invasion of other
                         May 28, 2009.                       individuals’ privacy

                                                             Exemptions (b)(7)(E) and
                                                             (b)(7)(F) were applied to
                                                             withhold monitoring,
                                           8
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  Group        Pages     Description            Exemption   Justification
  Number
                                                            classification and
                                                            management techniques
                                                            and determinations
                                                            regarding inmate
                                                            Gabrion, including the
                                                            information relied upon
                                                            to make those
                                                            determinations.

                                                            Disclosure of these
                                                            records would endanger
                                                            the life or physical safety
                                                            of inmate Gabrion, third-
                                                            party imates and staff and
                                                            enable inmates to
                                                            circumvent and/or nullify
                                                            the effectiveness of this
                                                            monitoring and
                                                            classification procedure.
  15           6         Inmate Population      (b)(7)(E)   Exemption (b)(7)(E) was
                         Monitoring Records     (b)(7)(F)   applied to withhold law
                         contained in inmate                enforcement techniques
                         Gabrion’s Special                  used to manage and
                         Investigative                      monitor the inmate
                         Services file, dated               population. Disclosure of
                         September 12, 2001.                these records would
                                                            enable inmates to
                                                            circumvent and/or nullify
                                                            the effectiveness of this
                                                            technique.

                                                            Exemption (b)(7)(F) was
                                                            applied to withhold the
                                                            programming
                                                            assignments the BOP
                                                            uses to classify and
                                                            monitor groups of
                                                            inmates. Although the
                                                            FOIA requestor is
                                                            seeking these records on
                                                            inmate Gabrion’s behalf
                                                            and with his consent, the
                                                            programming assignment
                                                            is sensitive information

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   Group        Pages    Description              Exemption   Justification
   Number
                                                              that, if released while
                                                              inmate Gabrion remains
                                                              incarcerated, is
                                                              nonetheless likely to
                                                              endanger his life or
                                                              physical safety if known
                                                              by other individuals.
   16           6        E-mail, dated            (b)(7)(E)   Exemptions (b)(7)(E) and
                         October 6, 2006,         (b)(7)(F)   (b)(7)(F) were applied to
                         addressing law                       withhold an e-mail
                         enforcement                          discussing a law
                         procedure used to                    enforcement procedure
                         monitor inmates.                     used to monitor and track
                                                              inmates subject to
                                                              specific reporting
                                                              requirements. The e-mail
                                                              also discusses steps that
                                                              must be taken by staff.
                                                              Accordingly, disclosure
                                                              of these records would
                                                              enable inmates to
                                                              circumvent and/or nullify
                                                              the effectiveness of the
                                                              procedure. Disclosure of
                                                              this information could
                                                              also reasonably be
                                                              expected to endanger the
                                                              life or physical safety of
                                                              third parties.
   17           5        Program Forms            (b)(7)(E)   Exemption (b)(7)(E) and
                         contained in inmate      (b)(7)(F)   (b)(7)(F) were applied to
                         Gabrion’s Central                    withhold these records
                         File dated January                   used by the BOP to
                         30, 2013.                            monitor and classify
                                                              inmate Gabrion.
                                                              Disclosure of these
                                                              records would enable
                                                              inmates to circumvent
                                                              and/or nullify the
                                                              effectiveness of this
                                                              monitoring and
                                                              classification system and
                                                              would endanger the life
                                                              or physical safety of

                                             10
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   Group        Pages    Description            Exemption   Justification
   Number
                                                            inmate Gabrion and staff.



   18           16       Inmate Population      (b)(6)      Exemptions (b)(6) and
                         Monitoring Records     (b)(7)(C)   (b)(7)(C) were applied to
                         contained in inmate    (b)(7)(E)   these records to withhold
                         Gabrion’s Special      (b)(7)(F)   personal information of
                         Investigative                      third parties. Disclosure
                         Services file, dated               of this information would
                         May 28, 2009 and                   be an unwarranted
                         June 10, 2009.                     invasion of the other
                                                            individuals’ privacy.

                                                            Exemptions (b)(7)(E) and
                                                            (b)(7)(F) were applied to
                                                            withhold techniques and
                                                            procedures used by the
                                                            BOP to monitor and track
                                                            inmates subject to
                                                            specific reporting
                                                            requirements. Disclosure
                                                            of these records would
                                                            enable inmates to
                                                            circumvent monitoring
                                                            and would endanger the
                                                            life or physical safety of
                                                            third parties.
   19           5        Central Inmate         (b)(6)      These records were
                         Monitoring (CIM)       (b)(7)(C)   withheld under (b)(6),
                         Clearance and          (b)(7)(E)   (b)(7)(C), (b)(7)(E) and
                         Separatee Data for     (b)(7)(F)   (b)(7)(F). The withheld
                         Marvin Gabrion,                    information consists of
                         dated May 25, 2009.                inmate names, register
                                                            numbers, and staff
                                                            comments regarding the
                                                            BOP’s incarceration and
                                                            management of those
                                                            inmates. The BOP has
                                                            determined that these
                                                            individuals need to be
                                                            separated from inmate
                                                            Gabrion. Release of this
                                                            information would
                                                            constitute an unwarranted
                                           11
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   Group        Pages    Description            Exemption   Justification
   Number
                                                            invasion into third-party
                                                            inmates’ privacy
                                                            interests, would reveal
                                                            law enforcement
                                                            techniques or
                                                            procedures, the disclosure
                                                            of which would
                                                            reasonably be expected to
                                                            risk circumvention, and
                                                            is likely to endanger the
                                                            life or physical safety of
                                                            the third-parties if known
                                                            by inmate Gabrion or
                                                            other individuals due to
                                                            the same reasons
                                                            underlying their separatee
                                                            status.
   20                    May 28, 2009 video     (b)(6)      Exemption (b)(6) and
                         recording in the USP   (b)(7)(C)   (b)(7)(C) were applied to
                         Terre Haute Special    (b)(7)(E)   withhold the images of
                         Confinement Unit       (b)(7)(F)   third-party individuals
                         Visiting Room.                     who were recorded in this
                                                            video, as disclosure
                                                            would be an unwarranted
                                                            invasion of their privacy.

                                                            Exemptions (b)(7)(E) and
                                                            (b)(7)(F) were also
                                                            applied to withhold the
                                                            video, as disclosure
                                                            would reveal law
                                                            enforcement procedures
                                                            and techniques including,
                                                            visiting room camera
                                                            location, staff response
                                                            time and procedures, and
                                                            locations not recorded by
                                                            the visiting room camera,
                                                            which, if disclosed, could
                                                            reasonably be expected to
                                                            risk circumvention or
                                                            endanger the life or
                                                            physical safety of third
                                                            parties.

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   Group        Pages    Description           Exemption   Justification
   Number
   21           2        Two telephone calls  (b)(6)       Exemption (b)(6) was
                         conducted on January              applied to withhold the
                         21, 2013, at 9:32                 conversations of third-
                         a.m., and January 6,              party individuals who
                         2013, at 2:23 p.m.,               participated in these
                         between inmate                    telephone calls. The calls
                         Gabrion and a third               were recorded into the
                         party.                            Inmate Telephone
                                                           System (ITS), which
                                                           saves the telephone call
                                                           into a .wav computer
                                                           format. This format does
                                                           not provide a means to
                                                           download the computer
                                                           files to a cassette tape.
                                                           Accordingly, the BOP
                                                           does not have the
                                                           capability to reasonably
                                                           segregate inmate
                                                           Gabrion’s portion of the
                                                           conversation from the
                                                           recording and the entire
                                                           telephone call must be
                                                           withheld. Without proper
                                                           consent from all parties
                                                           to the telephone call,
                                                           disclosure of this
                                                           information would be an
                                                           unwarranted invasion of
                                                           other individuals’
                                                           privacy.




                                          13
